707 F.2d 1583
    In re COMPLAINT OF JUDICIAL MISCONDUCT By Charles S. GLEASON et al.
    Misc. No. 18.
    United States Court of Appeals,Federal Circuit.
    June 3, 1983.
    
      ORDER
      MARKEY, Chief Judge.
    
    
      1
      Having considered the "Verified Petition for Review By Judicial Counsel [sic] Of Court of Appeals of [sic] The Federal Circuit", and noting the absence of any authority in this court to consider complaints filed against Judges of the United States Claims Court under 28 U.S.C. Sec. 372, the relationship of this court to the United States Claims Court being limited to consideration of appeals from the judgments of that court,
    
    IT IS ORDERED
    
      2
      That the Clerk return the petition and accompanying papers to complainant.
    
    